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                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

 In re:                                   )
                                          ) Case No. 15-45100-399
 Timothy & Jamie Ruark,                   )
                                          )
                                          ) Chapter 13
                                          )
                                          ) Objection to Claim #19-1
                   Debtors.               )
                                          )

                OBJECTION TO CLAIM AND NOTICE OF OBJECTION

      PLEASE TAKE NOTICE: ANY RESPONSIVE PLEADING IN OPPOSITION
 TO THIS MOTION/PLEADING MUST BE FILED IN WRITING NO LATER THAN
 TWENTY-ONE (21) DAYS FROM THE DATE OF SERVICE OF THIS MOTION/
 PLEADING AS SHOWN ON THE CERTIFICATE OF SERVICE. (See L.B.R.
 9013-1 b.; 9061-1 B) THE RESPONSE MUST BE IMMEDIATELY SERVED
 UPON THE UNDERSIGNED AND UPON ALL ENTITIES DESCRIBED IN L.B.R.
 9013-1 A. THE COURT MAY GRANT THE MOTION/PLEADING WITHOUT
 FURTHER NOTICE TO ANY PARTY UPON EXPIRATION OF THE RESPONSE
 PERIOD IF NO RESPONSE IF FILED.

      IF A RESPONSE OR OBJECTION IS FILED, THE MOVANT, APPLICANT
 OR CLAIM OBJECTOR SHALL SET THE MATTER FOR HEARING AND PROVIDE
 NOTICE THEREOF TO THE RESPONDENT AND ALL ENTITIES DESCRIBED IN
 L.B.R. 9013-1 A.

     Come now Debtors, Timothy and Jamie Ruark, by and through

 their attorney of record, and for their Objection to Claim #19-

 1, state as follows:

      1. Claim #19-1 filed by Cavalry Spv I, LLC in the amount of

           $5,252.89 should be denied as filed.

      2. The claim was filed as a secured claim, however the

 claim was not accompanied by proof that the security interest

 has been perfected.
      3.   The Yamaha is no longer in the Debtors’ possession.

      4.   Therefore, Claim #19-1 should be denied as filed.
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      WHEREFORE, Debtors pray the Court enter an Order Sustaining

 Debtor’s Objection to Claim #19-1 filed by Cavalry Spv I, LLC;

 and for such other and further relief as this Court deems

 necessary and proper under the circumstances.



                             Respectfully Submitted,

                             Brinkman & Alter, LLC


                         By:_/s/ Jennifer Alter________________
                            Jennifer Alter, MO #58814
                            1 North Taylor
                            St. Louis, MO 63108
                            (314) 932-1067 MAIN
                            (314) 596-4331 FAX
                            jalter@brinkmanandalter.com

                          Certification of Service

      The undersigned hereby certifies that a copy of the
 foregoing Objection to Claim and Notice were served upon the
 persons listed below by first class mail, postage prepaid this
 11th day of November, 2015.


                                                 _/s/ Laura Jernigan____

 John V. LaBarge, Jr.       via electronic mail only
 Chapter 13 Trustee
 P.O. Box 430908
 St. Louis, MO 63143

 Cavalry Spv I, LLC
 Bass & Associates, PC
 3936 E. Ft. Lowell Rd.
 Suite 200
 Tucson, AZ 85712

 Timothy and Jamie Ruark
 9828 Ridgecrest Dr.
 Hillsboro, MO 63050
